      Case 7:20-cv-08089-KMK-JCM Document 18-7 Filed 10/22/20 Page 1 of 4




                  EXHIBIT G




ME1 9768624v.1
      Case 7:20-cv-08089-KMK-JCM Document 18-7 Filed 10/22/20 Page 2 of 4
                                                             Joseph Lubertazzi, Jr.       McCarter & English, LLP
                                                             Partner                      Four Gateway Center
                                                             T. 973-639-2082              100 Mulberry Street
                                                             F. 973-297-3940              Newark, NJ 07102

                                                             jlubertazzi@mccarter.com     www.mccarter.com




July 15, 2020

VIA OVERNIGHT MAIL AND US MAIL

160 Palisade Realty Partners LLC
c/o Wilson Soto & Associates, P.C.
531 Central Park Avenue
Suite 301
Scarsdale, New York 10583

Re:     Loan in the original principal amount of $1,080,000 (the “Loan”) made to 160 Palisade
        Realty Partners LLC (“Borrower”), held by U.S. Bank National Association, as trustee for
        the registered holders of J.P. Morgan Chase Commercial Mortgage Securities Corp.,
        Multifamily Mortgage Pass-Through Certificates, Series 2017-SB42 (“Lender”), and
        specially serviced by LNR Partners, LLC (“Special Servicer”), relating to real property
        commonly known as 160 Palisade Avenue, Yonkers, New York (the “Property”)
        Loan No.

            SECOND NOTICE OF ACCELERATION AND DEMAND FOR PAYMENT

Dear Sir/Madam:

This Firm represents the Lender, acting by and through its Special Servicer.

Reference is made to that certain Consolidated, Amended and Restated Note dated August 9,
2017 executed by the Borrower; that certain Loan Agreement dated August 9, 2017 executed by
the Borrower; that certain Consolidation, Extension and Modification Agreement dated August 9,
2017 executed by the Borrower; that certain Guaranty dated August 9, 2017 executed by Ruben
Guerrero and Rishi Nangalia (together, the “Guarantors”); and all other documents executed in
connection with the Loan (collectively, the “Loan Documents”).

By letter dated June 23, 2020, the Special Servicer noticed the default of the Borrower for failing
to timely make payments due under the Loan Documents. Please be advised that the Loan
remains in default, interest is accruing at the default rate, and the Loan remains accelerated.

The Lender has recently learned that the Borrower may have granted a lien on the Property in
the amount of $400,000 in favor of Webster Ave Yonkers LLC, and Webster Ave Yonkers LLC
filed a notice of pendency against the Property on December 21, 2019. We understand this
notice of pendency has been cancelled. Nonetheless, we write to notify the Borrower that in
addition to the payment default, the Borrower is in default for (i) granting a lien on the Property,
and (ii) for the filing of the notice of pendency against the Property, both of which constitute a
Prohibited Transfer under Section 7.02(a) of the Loan Agreement. This Prohibited Transfer
triggers Section 3.05(b) of the Loan Agreement such that the Loan is Full Recourse to the
Borrower. In addition, under Section 3(a)(i) of the Guaranty, the Guarantors guaranteed
repayment of all amounts for which the Borrower is personally liable, including repayment of all




ME1 33802929v.1
      Case 7:20-cv-08089-KMK-JCM Document 18-7 Filed 10/22/20 Page 3 of 4



                                                                 160 Palisade Realty Partners LLC
                                                                                     July 15, 2020
                                                                                           Page 2



sums due under the Loan Documents. Thus, the Guarantors have full recourse liability for the
sums owed under the Loan Documents.

By this notice, the Lender hereby demands payment of all sums due under the Loan
Documents. By copy of this notice to the Guarantors, demand is hereby made on the
Guarantors for all sums due under the Loan Documents. Please contact the undersigned for a
payoff statement.

Please be further advised that effective April 1, 2020, the Borrower’s license to collect the rents
of the Property terminated automatically. By no later than July 27, 2020, the Borrower should
deliver the following to the undersigned: (i) a monthly accounting for all rents collected for April,
May, June and July, and (ii) a monthly expense statement reflecting all Property expenses paid
for April, May, June and July. In addition, by no later than July 27, 2020, the Borrower should
wire the excess rents for April, May, June and July to the Special Servicer in the same manner
in which previous monthly payments were made. The excess rents will be applied to the
outstanding amount due under the Loan Documents in any manner and in any order determined
by the Lender, in the Lender’s discretion. Please note that the rents are the Lender’s property;
therefore, dissipation of the rents constitutes conversion, and the Lender reserves the right to
pursue the individuals or entities who participate in such conversion.

No forbearance, delay or inaction by the Lender in demanding payment or declaring a default or
the consequential exercise of its rights and remedies, and no continuing performance by the
Lender, the Borrower or the Guarantors under the Loan Documents: (a) shall constitute: (i) a
modification or an alteration of the terms, conditions or covenants of the Loan Documents, all of
which remain in full force and effect; or (ii) a waiver, release or limitation upon the Lender’s
exercise of any of its rights and remedies thereunder, all of which are hereby expressly
reserved; or (b) shall relieve or release the Borrower or the Guarantors in any way from any of
their respective duties, obligations, covenants or agreements under the Loan Documents or
from the consequences of any breach or any other default that may be declared thereunder.
The Lender is not obligated to waive any breach or default, whether now existing but not yet
declared, or which may occur after the date of this notice.

Nothing in this notice or in any ongoing or future discussions between the Lender, on the one
hand, and the Borrower and the Guarantors on the other hand, nor any delay on the part of the
Lender in exercising any of its rights and remedies under the Loan Documents and/or applicable
law, shall directly or indirectly: (i) create any obligation to forbear from taking any enforcement
action, (ii) constitute a consent to or waiver of any past, present or future default or other
violation of any provision of the Loan Documents, (iii) amend, modify or operate as a waiver of
any provision of the Loan Documents or any right, power, privilege or remedy of the Lender
thereunder or under applicable law, (iv) constitute an agreement to forbear or to amend the
Loan Documents or (v) constitute a course of dealing or other basis for altering any rights or
obligations of the Lender under the Loan Documents, or any obligations of the Borrower or the
Guarantors under the Loan Documents, or any other contract or instrument.




ME1 33802929v.1
      Case 7:20-cv-08089-KMK-JCM Document 18-7 Filed 10/22/20 Page 4 of 4



                                                             160 Palisade Realty Partners LLC
                                                                                 July 15, 2020
                                                                                       Page 3



From time to time, the Borrower may have received, and may in the future receive, statements
of Loan balances. Such statements are generated for the Borrower’s information and
convenience only, and do not waive, amend or alter any obligations under the Loan Documents.
By means of example, and without limitation, statements may fail to include interest charges,
late fees and/or legal fees, which are due and payable under the Loan Documents. Thus, to the
extent that such statements are inconsistent with any term of the Loan Documents or to the
extent that such statements do not accurately reflect balances or any payments to which the
Lender is entitled to under the Loan Documents, the Loan Documents shall control.

The Lender may accept and negotiate any payment or check without prejudice to its rights to
receive the balance of all remaining sums due under the Loan Documents or to pursue any
remedy thereunder or at law or in equity. Any payment received by the Lender will not
constitute an agreement to modify or extend the Loan Documents, or an accord and
satisfaction, or the Lender’s agreement to accept a lesser amount as payment in full of sums
owed under the Loan Documents. The Lender’s acceptance of any endorsement or statement
on any check evidencing a payment or letter accompanying a payment will not be deemed to be
an accord and satisfaction.

This notice does not attempt to summarize all (i) defaults existing under the Loan Documents
and (ii) rights and remedies of the Lender under the Loan Documents. Accordingly, this notice
is not, and shall not be deemed to be, a waiver of, or a consent to, any misrepresentation,
breach or default now existing or hereafter arising under the Loan Documents.

The Lender reserves all of its rights and remedies. Please be guided accordingly.

Very truly yours,




Joseph Lubertazzi, Jr.

cc:     Mr. Rishi Nangalia
        531 Central Park Avenue, Suite 301
        Scarsdale, New York 10583
        (via email and regular mail)

        Mr. Ruben Guerrero
        531 Central Park Avenue, Suite 301
        Scarsdale, New York 10583
        (via email and regular mail)




ME1 33802929v.1
